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   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
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  11    JAE JEONG LYU,                         Case No. 5:19-cv-00637-MCS (AFM)
  12                      Plaintiff,
                                                 JUDGMENT
  13          v.
  14    JIM McDONNELL,
  15                      Defendant.
  16

  17         Pursuant to the Court’s Order Accepting the Final Report and
  18   Recommendation of the United States Magistrate Judge,
  19         IT IS ORDERED AND ADJUDGED that Plaintiff have and take nothing by
  20   his Second Amended Complaint, and the action is dismissed with prejudice.
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  22   DATED: January 12, 2021
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  24                                       ____________________________________
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                                                  MARK C. SCARSI
  25                                         UNITED STATES DISTRICT JUDGE
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